                    Case 4:22-cv-02089-DMR Document 11 Filed 04/01/22 Page 1 of 1



                                           UNITED STATES DISTRICT COURT
                                          NORTHERN DISTRICT OF CALIFORNIA


         ADAMS,                                               Case No. 22-cv-02089-DMR
                            Plaintiff,
                                                              SCHEDULING ORDER
                   v.                                         (SOCIAL SECURITY REVIEW ACTION)

         SOCIAL SECURITY ADMINISTRATION,
         Defendant.

         TO PARTIES AND COUNSEL OF RECORD IN THE ABOVE ACTION:
         The above action seeks review of a decision by the Commissioner of Social Security denying
         plaintiff Social Security payments. The parties are reminded that the Court’s jurisdiction is
         limited to reviewing the administrative record to determine whether the decision is supported by
         substantial evidence in the record, and whether the Commissioner complied with the
         requirements of the Constitution and the Social Security Act and administrative regulations in
         reaching the decision reviewed. 42 U.S.C. § 405(g).
         Pursuant to Civil L.R. 16-5, the following schedule will apply in this case:

             1. Defendant shall serve and file an answer, together with a certified copy of the
                transcript of the administrative record, within 90 days of receipt of service of the
                summons and complaint.
             2. Plaintiff shall serve and file a motion for summary judgment or for remand within 28
                days of service of defendant’s answer.
             3. Defendant shall serve and file any opposition or counter-motion within 28 days of
                service of plaintiff’s motion.
             4. Plaintiff may serve and file a reply within 14 days of service of defendant’s
                opposition or counter-motion.
             5. Unless the court orders otherwise, upon conclusion of this briefing schedule, the
                matter will be deemed submitted for decision without oral argument.

                                                          FOR THE COURT:
                                                          Mark B. Busby, CLERK
                                                           By: ___________________________________
                                                          Jenny Galang, Deputy Clerk




Social-Security_Scheduling-Order_Intake
rev. June 2018
